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Official Form 309A (For Individuals or Joint Debtors) (12/15)

Information to identify the case:

Debtor 1:
                      Roy Arthur Merrill                                         Social Security number or ITIN:   xxx−xx−0672
                                                                                 EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name   Last Name

Debtor 2:             Jodi Lynn Merrill                                          Social Security number or ITIN:   xxx−xx−7158
(Spouse, if filing)                                                              EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name   Last Name

United States Bankruptcy Court:        Western District of Michigan              Date case filed for chapter:         7    11/30/22

Case number:           22−90112−swd

                  Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline
For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov/).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                      About Debtor 2:

 1.       Debtor's full name                     Roy Arthur Merrill                                   Jodi Lynn Merrill

 2.       All other names used in the
          last 8 years

 3.     Address                                  N. 1575 South Circle Drive                           N. 1575 South Circle Drive
                                                 Norway, MI 49870                                     Norway, MI 49870

 4.     Debtor's attorney                        Candace Arroyo                                       Contact phone 714−483−0918
                                                 Candace Arroyo
        Name and address                         PO Box 14                                            Email: cj.arroyo@yahoo.com
                                                 Leo, IN 46765

 5.     Bankruptcy trustee                       Darrell R. Dettmann                                  Contact phone (906) 235−7739
                                                 1207 Gray St.
        Name and address                         Marquette, MI 49855−4320
                                                                                                               For more information, see page 2 >
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Debtor Roy Arthur Merrill and Jodi Lynn Merrill                                                                     Case number 22−90112−swd


6. Bankruptcy clerk's office                    Michelle M. Wilson, Clerk of the Bankruptcy Court Hours open:
                                                One Division Ave., N.                             M−F, 8 AM − 4 PM
    Documents in this case may be filed at this Room 200
    address. You may inspect all records filed Grand Rapids, MI 49503                             Contact phone (906)226−2117
    in this case at this office or online at
    https://pacer.uscourts.gov/.
                                                                                                             Date: 11/30/22

7. Meeting of creditors                          January 20, 2023 at 09:00 AM                                Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a              Until further notice, meetings will
    questioned under oath. In a joint case,      later date. If so, the date will be on the court            be held remotely. The trustee will
    both spouses must attend. Creditors may
    attend, but are not required to do so.       docket.                                                     issue a separate notice with
                                                                                                             further details.

8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                Filing deadline: 3/21/23
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                 not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                 exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                 https://pacer.uscourts.gov/. If you believe that the law does not authorize an exemption
                                                 that the debtors claim, you may file an objection. The bankruptcy clerk's office must
                                                 receive the objection by the deadline to object to exemptions in line 9.

13. Abandonments                                 Trustees may abandon property in no asset estates without notice to creditors or other
                                                 interested parties. Anyone wishing to receive notice of such abandonment must file a
                                                 request with the Court.
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